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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
 v.                                          ) Criminal No. 4:15-CR-40024-003
                                             )
SCOTT OGLESBY                                )

                                   ORDER OF DISMISSAL

       Now on this same day came on for consideration the government's Motion to Dismiss

pursuant to Rule 48(a), Federal Rules of Criminal Procedure, and upon consideration of the same,

the Court is of the opinion that same Motion should be granted.

       NOW THEREFORE, it is ordered that the Indictment filed in the above-entitled and

numbered cause on September 16, 2015, be on the same day hereby dismissed without prejudice as

to Defendant Scott Oglesby only.

       Entered on this 15th day of April, 2016.


                                                    /s/ Harry F. Barnes
                                                    Honorable Harry F. Barnes
                                                    United States District Judge
                                                    Western District of Arkansas
